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                THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

BETHUNE-COOKMAN                     )
UNIVERSITY, INC.                    )
                                    )
Plaintiff,                          )
                                    )
vs.                                 )           Case No.
                                    )
DR. MARY MCLEOD BETHUNE             )           JURY TRIAL DEMANDED
NATIONAL ALUMNI                     )
ASSOCIATION, INC., and              )
JOHNNY L. MCCRAY, JR., individually )

Defendants.

                            VERIFIED COMPLAINT

      Plaintiff, BETHUNE-COOKMAN UNIVERSITY, INC. (the “University” or

“Plaintiff”), sues DR. MARY MCLEOD BETHUNE NATIONAL ALUMNI

ASSOCIATION, INC. (“Former Alumni Association”) and JOHNNY L.

MCCRAY, JR. (“MCCRAY”), individually, (collectively “Defendants”), and as

grounds for its Complaint, states as follows:

                                INTRODUCTION

      1.      The University’s Founder, Dr. Mary McLeod Bethune, started a

school for girls in 1904, which became Bethune-Cookman College, Inc. and

thereafter, Bethune-Cookman University, Inc.


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      2.      The Former Alumni Association is a Florida corporation comprised

of some of the University’s alumni, who raise funds in the University's name and

for its benefit. Until recently, the University allowed the Former Alumni

Association to use its name and trademarks in its fundraising efforts.

      3.      At all relevant times, Defendant, MCCRAY, was and is the President

of the Former Alumni Association.

      4.      On September 1, 2021, the University’s Board of Trustees voted to

disassociate from the Former Alumni Association and to establish the University’s

own Alumni Direct Support Organization 1 for the University to fundraise and

support alumni affairs. The University’s Board of Trustees made this decision in

light of the Southern Association of Colleges and Schools - Commission on

Colleges ("SACS") accreditation standards and requirements, and the need to have

control and oversight over its fundraising activities.

      5.      The Former Alumni Association has not filed its IRS Form 990

information returns since 2016, therefore, losing its tax-exempt status with the IRS.

      6.      Further, the Former Alumni Association’s leadership, including

MCCRAY, has made publicly disparaging remarks about the University and its

Board of Trustees. See i.e., Article authored by the Former Alumni Association’s


1
 Direct Support Organizations are widely and successfully used across the nation by
universities to establish a direct connection between the University and its alumni
using more organized, structured, and effective alumni-driven programming and
fundraising.
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President, Johnny L. McCray, Jr., attached hereto as “Exhibit A.”

      7.     With this disassociation, the Former Alumni Association is no longer

permitted to use the University’s name, likeness, logos, or trademarks, or represent

itself publicly as associated with the University.

      8.     Despite several demands by the University to the Former Alumni

Association to stop using the University’s name, likeness, logos, or trademarks or

representing itself publicly as associated with the University, the Former Alumni

Association, at the authorization and direction of MCCRAY, still uses the

University’s name, likeness, logos, and trademarks, and falsely represents that it is

associated with the University.

      9.     Due to the Former Alumni Association’s failure to comply with the

University’s repeated demands, the University seeks relief from this Court from the

Former Alumni Association’s continued false association with the University and

use of the University’s trademarks and tradenames.

                                     PARTIES
      10.    The University is a Florida not for profit corporation, with its

principal place of business in Volusia County, Florida.

      11.    The Former Alumni Association is a Florida not for profit

corporation, with its principal place of business in Volusia County, Florida.

      12.    At all relevant times, Defendant, MCCRAY, was and is the President

of the Former Alumni Association, and is a resident of Broward County, Florida.
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                         JURISDICTION AND VENUE

      13.     The Court has jurisdiction over the Former Alumni Association

because it is a Florida corporation doing business in the State and has

substantial, continuous and systematic contacts with the State of Florida. As a

result, it is fair and reasonable to require it to defend this action in Florida.

      14.     Defendant, MCCRAY, resides in the State of Florida.

      15.     The Court has jurisdiction over the subject matter of this action

under 28 U.S.C. § 1338(a), because the Former Alumni Association is in

violation of the Lanham Act (15 U.S.C. § 1051, et seq.). Further, the Court has

subject matter jurisdiction over all claims arising under state law pursuant to 28

U.S.C. § 1367 (supplemental jurisdiction).

      16.     Venue is proper in this Court, as the University’s and the Former

Alumni Association’s respective principal places of business are located in

Volusia County, in the Middle District of Florida, and the substantial part of

the events or omissions giving rise to this claim occurred in Volusia County, in

the Middle District of Florida.

                           FACTUAL ALLEGATIONS

            THE UNIVERSITY'S HISTORY AND TRADEMARKS

      17.     On October 3, 1904, an exceptional young Black woman, Mary

McLeod Bethune, opened the Daytona Literary and Industrial Training School


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for Negro Girls—what would become Bethune-Cookman University—with

$1.50, faith in God and six students, five little girls, and Dr. Bethune’s son,

Albert Bethune 2.

      18.     In 1923, the school merged with the Cookman Institute of

Jacksonville, Florida, which had been founded in 1872. The Cookman Institute was

the first institution of higher education of Blacks in the State of Florida. The merger

of the two schools was finalized in 1925. The merged institution was called the

Daytona-Cookman Collegiate Institute 3.

      19.     In 1931, the College became accredited by the Association of

Colleges and Secondary Schools of the Southern States, as a junior college and on

April 27 of that year, the school’s name was officially changed to Bethune-

Cookman College to reflect the leadership of Dr. Mary McLeod Bethune4.

      20.     In 2007, Bethune-Cookman College achieved university status,

having added a graduate program in transformational leadership to its offerings 5.

      21.     On May 11, 2004, the University applied for the trademark

“BETHUNE-COOKMAN” which was registered with the United States Patent &

Trademark Office (“USPTO”) on November 1, 2005, Registration Number



2
  https://www.cookman.edu/history/index.html
3
  https://www.cookman.edu/history/index.html
4
  https://www.cookman.edu/history/index.html
5
  https://www.cookman.edu/history/index.html
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3010916, and is used for, inter alia, printed instructional, educational, and teaching

materials in the fields of art, humanities, business, education, nursing, science,

engineering, mathematics, and social sciences, stationery, folders, writing

instruments, binders, calendars, posters, letter openers, shirts, pants, headwear,

footwear, shorts, sleepwear, baby bibs not of paper, undergarments, and ties.

        22.   The University’s first use in commerce of the “BETHUNE-

COOKMAN” trademark was at least as early as 1926. A true and correct copy of

Registration No. 3010916 is attached hereto as “Exhibit B.”

        23.   The University also owns the service mark “BETHUNE-

COOKMAN” under Registration Number 2997255, for education and

entertainment services, namely, providing courses of instruction at the university

level, arranging and conducting athletic sporting events, and live performances by

a musical band, a choral group or an orchestral performing group. The service mark

was first used in commerce as early as 1926. A true and correct copy of Registration

No. 2997255 is attached hereto as “Exhibit C.”

        24.   The University’s “BETHUNE-COOKMAN” trademark and service

mark is similarly registered in Florida. A true and correct copy of Florida

Registration Number T06000001446 is attached hereto as “Exhibit D.”

        25.   The University owns 6 the service mark “FLORIDA CLASSIC”,


6
    This mark is jointly owned by the University and the Florida Agricultural and
                                          6
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under Registration Number 3031481, for entertainment services, namely, football

games, golf tournaments, galas, marching band events, dance events, fashion

shows, festivals, and live performances by a musical band, a choral group, or an

orchestral performance, and for serving food and beverages at luncheons. The

mark was first used in commerce at least as early as 1978. A true and correct copy

of Registration No. 3031481 is attached hereto as “Exhibit E.”

      26.    The University’s “FLORIDA CLASSIC” service mark is similarly

registered in Florida. A true and correct copy of Florida Registration Number

T06000001498 is attached hereto as “Exhibit F.”

      27.    The University also owns the trademark and service mark under

Registration Number 1974478, consisting of the University’s seal described as

“two parallel circles encircling an inverted trisected isosceles triangle in which the

words ‘HEAD’, ‘HAND’, and ‘HEART’ are arranged clock-wise within each

section; the dates ‘1923’, ‘1872’ and ‘1904’ are arranged in a clockwise fashion

between the isosceles triangle and the inner circle; reading left to right across the

top from the 7:00 position to the 5:00 position of the boarder of the circle is

‘*BETHUNE-COOKMAN UNIVERSITY*’; printed along the bottom border of

the circle is the year ‘2007’” for non-metal key-chains and for education [and

entertainment] services; namely, providing courses of instruction at the college


Mechanical University Board of Trustees (“FAMU”).
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level:




         28.   This mark was first used in commerce at least as early as 1923. A true

and correct copy of Registration No. 1974478 is attached hereto as “Exhibit G.”

         29.   This mark was also registered in Florida. A true and correct copy of

Florida Registration Number T11000000242 is attached hereto as “Exhibit H.”

         30.   The University owns the service mark under Registration Number

4406777, which consists of an angle view of a wildcat’s head, for education

services in the nature of courses at the university level, entertainment in the nature

of beauty pageants, entertainment services in the nature of dance, musical, theater,

pep rally, parades, performing arts, comedy and step performances, fashion

modeling for entertainment purposes, organizing and conducting college sport

competitions and athletic events:




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      31.    The mark was first used in commerce at least as early as August 1996.

A true and correct copy of Registration No. 4406777 is attached hereto as “Exhibit

I.”

      32.    The aforementioned trademarks and service marks are valid and

subsisting in law, were duly and legally issued, and constitute constructive notice

of the University’s ownership of the marks in accordance with Sections 7(b) and

22 of the Federal Lanham Act, 15 U.S.C. §§ 1115(a), 1057(b), and 1072.

      33.    Further, the USPTO has issued a Notice of Acceptance under Section

8 of the Lanham Act, 15 U.S.C. §1058(a)(l) and Section 15 of the Lanham Act, 15

U.S.C. §1065 for the aforementioned trademarks and service marks. Accordingly,

the University’s rights to these registrations are “incontestable” under Section 15

of the Lanham Act, 15 U.S.C. §1065.

      34.    As of the date of this filing, the University also has USPTO trademark

applications pending for the mark “BC” (stylized and/or with design), the literal

element of which consists of “BC” styled as interlocking block letters, for goods in


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Classes 20, 21, 16, 25, 14, and 24 specifically, for chairs and portable folding

stadium seats, beverageware, decals, folders bearing stationery, pens, spiral-bound

notebooks, and three-ring binders, gloves, hats, scarves, shirts, shorts, sweatshirts,

jackets, and ties as clothing, keychains:




See USPTO application serial numbers: 90863047; 90863045; 90863053;

90863032; 90862998; 90863036, attached hereto as composite “Exhibit J.”

      35.     The University first used this mark in commerce at least as early as

February 24, 2021.

      36.    The aforementioned registered (or applied for) trademarks and service

marks will be collectively referred to herein as the (“University’s Marks”).

      37.    The University’s Marks have been used to identify the University's

services and to distinguish them from the services of other educational institutions

and organizations. For example, the University prominently displays and uses these

marks on school buildings, letterhead, correspondence, direct mailings, its website,

and school and Alumni newsletters, among other things.


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      38.    The University is a tax-exempt institution and accepts contributions

from numerous donors each year. The University’s Alumni represent a significant

segment of the University’s donor base. The University regularly employs the

University’s Marks in its efforts to raise money to further the University's mission.

THE FORMER ALUMNI ASSOCIATION’S HISTORY AND MISSION

      39.    The Former Alumni Association is an independent corporation, which

is not legally affiliated with the University through common ownership or

otherwise.

      40.    However, from the beginning, cooperation between the University

and the Former Alumni Association was integral to the Former Alumni

Association’s founding and mission.

      41.    Indeed, according to its April 28, 2020 Bylaws, the Former Alumni

Association’s purpose is to maintain intimate and continuous involvement with the

University when conducting its fundraising activities and other support on behalf

of the University:

      “The general purpose of this corporation shall be to perpetuate the history,
      ideals and philosophy of Bethune Cookman University and to promote the
      University as an institution of academic excellence and to create and maintain
      an environment that encourages alumni participation through volunteerism
      and financial support for the Association and University. In addition, the
      Association shall maintain, foster and expand the unique and special
      relationship between the University and its alumni.”

      42.    A true and correct copy of the Former Alumni Associations’ April 28,

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2020 Bylaws are attached hereto as “Exhibit K”.

        43.    The Former Alumni Association’s Chapters’ Assessments are to

include donations to the University:

        “a. Each chapter shall pay an assessment as approved by the Board of
        Directors each year to include scholarship, donation to the University and
        operational expenses of the Association.”

        See Former Alumni Association Bylaws at Article I, Section 5.

        44.    Further, the Former Alumni Association’s website 7 states that its

Mission is to serve the University:




        45.    Its Vision is to advance the mission of the University:




7
    https://www.mmbnaa.org/about-us-1 (as of January 6, 2022).
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                       ACCREDITATION IMPLICATIONS

        46.   The University has achieved accreditation with the Southern

Association of Colleges and Schools Commission on Colleges (“SACS”). SACS

is the body for the accreditation of degree-granting higher education institutions in

the Southern states.

        47.   To gain or maintain accreditation with SACS, an institution must

comply with the standards contained in the Principles of Accreditation:

Foundations for Quality Enhancement and with the policies and procedures of the

Commission.

        48.   In recent years, the SACS accreditation standards have been revised

to include more stringent standards pertaining to fundraising by “institution-related

entities,” which are entities organized separate from the University, but whose

purpose is to raise funds to support the University and its programs.

        49.   Specifically, Section 5.3 of the SACS Accreditation Standards

requires the University to exercise sufficient direction and control over the

fundraising activities of institution-related entities.

        50.   The University will go through the SACS reaffirmation process in

2022.

        51.   Failure to comply with the SACS accreditation standards could result

in loss of accreditation, which would be devastating to the University. Losing

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accreditation would cause the University and its students to lose access to federal

student loans and grants through Title IV, Historically Black College and

University (HBCU) funding through Title III, and grants, scholarships, and annual

distributions through the United Negro College Fund (UNCF).

      52.     Loss of accreditation would also of course, negatively impact the

University’s academic standing, the transferability of academic credits to other

accredited institutions, and the value of degrees awarded by the University.

      53.     In order to comply with SACS standards and exercise direction and

control over institution-related entities’ fundraising for the University, the

University can create a Direct Support Organization for its alumni and other donors

to contribute directly to the University.

      54.     Many Southern colleges and universities with SACS accreditation use

Direct Support Organizations for this purpose, including, but not limited to the

University of Florida and Florida State University.

FORMER ALUMNI ASSOCIATION’S LOSS OF TAX-EXEMPT STATUS

      55.     In addition to the issue of the University’s direction and control over

institution-related entities’ fundraising for the University, the University has also

learned that the Former Alumni Association has lost its tax-exempt status with the

IRS. According to public records, the Former Alumni Association has not filed its

IRS Form 990 information returns since 2016—therefore, losing its tax-exempt


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status due to its failure to file three (3) years of IRS Form 990 information returns.

        DISPARAGEMENT BY THE FORMER ALUMNI ASSOCIATION

      56.    The Former Alumni Association’s leadership has a history of publicly

disparaging the University and its Board of Trustees. See i.e. Exhibit A, authored

by the Former Alumni Association’s President, MCCRAY.

DISASSOCIATION FROM FORMER ALUMNI ASSOCIATION AND
       REVOCATION OF PERMISSION TO USE MARKS

      57.    The University’s Board of Trustees (the “Board”) convened on

September 1, 2021, and unanimously voted for the University to break ties with

and disassociate from the Former Alumni Association, and to create a Direct

Support Organization. A true and correct copy of the Board’s Resolution is attached

hereto as “Exhibit L”.

      58.    Under the Direct Support Organization model, alumni will work

directly with the Bethune-Cookman University Office of Alumni Affairs, which

allows the University to exercise sufficient direction and control over the

fundraising activities for the University, as required by SACS accreditation

standards, and for more direct, efficient, and effective alumni engagement.

      59.    On or about September 17, 2021, the University’s counsel sent a letter

to the Former Alumni Association’s counsel advising that in light of the resolution

passed by the Board, the Former Alumni Association was not legally authorized to

use the University’s name, likeness, logos, or facilities, or to represent itself
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publicly as being associated with the University in any way. A true and correct

copy of the September 17, 2021 Letter is attached hereto as “Exhibit M.”

      60.    The Former Alumni Association was previously known as the

“National Alumni Association of Bethune-Cookman University, Inc.”

      61.    After receipt of cease and desist letter(s) from the University, the

Former Alumni Association, at the direction and authorization of MCCRAY,

changed its name to Dr. Mary McLeod Bethune National Alumni Association, Inc.,

to remove “Bethune-Cookman University” from its name while continuing to keep

the University’s Founder’s name.

      62.    Dr. Mary McLeod Bethune is of course, inextricably associated with

the University. Dr. Bethune is the University’s Founder, the University is named

after her, and in addition to her statue, her home is located on the University’s

campus. Further, a replica of her National Statuary Hall statue will be placed in the

Riverfront Park in Daytona Beach, Florida, in such a way that it is directly facing

the University, because of Dr. Bethune’s inextricable ties to the University.

      63.    In addition to using the University’s Founder’s name, the Former

Alumni Association, at the direction and authorization of MCCRAY, continued to

use the University’s likeness, logos, and trademarks, and represent itself publicly

as being associated with the University.

      64.    The University’s counsel sent a second cease and desist letter to the


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Former Alumni Association’s counsel on or about September 29, 2021, again

demanding that the Former Alumni Association cease and desist using the

University’s name, likeness, logos, and trademarks, and representing itself publicly

as associated with the University, including using the University’s Founder’s name,

which is inextricably associated with the University—all creating the false

impression that the Former Alumni Association is associated with the University.

A true and correct copy of the September 29, 2021 Letter is attached hereto as

“Exhibit N”.

      65.      In response, the Former Alumni Association’s counsel responded

advising that the Former Alumni Association would comply by the end of October

2021. A true and correct copy of the October 5, 2021 Letter received is attached

hereto as “Exhibit O”.

      66.      The University responded advising the Former Alumni Association

that it already had ample time to disassociate, and that the continued use of the

University’s name, likeness, and logos, including, inter alia on the Former Alumni

Association’s website, in its email address(es), domain name(s), and flyers

circulated, would cause confusion among alumni/donors, in violation of federal and

state trademark law. Further, the use of the name of the University’s Founder in the

Former Alumni Association’s new name, would further cause confusion and false

association with the University. A true and correct copy of the October 12, 2021


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Letter is attached hereto as “Exhibit P.”

        THE FORMER ALUMNI ASSOCIATION'S CONTINUED
            INFRINGEMENT AND FALSE ASSOCIATION

      67.    The Former Alumni Association is not authorized or licensed by the

University to seek contributions from Alumni or the public on the University’s

behalf, or to use or exploit the University’s Marks.

      68.    Despite the University’s clear notice of disassociation and multiple

notices of infringement and demands to cease and desist, the Former Alumni

Association, at the authorization and direction of MCCRAY, has continued to

represent that it is authorized to contact the University’s alumni and solicit

donations for the University, and otherwise, willfully infringe upon and dilute the

University’s Marks by using them without permission. See several flyers, website

pages, email correspondence, social media postings, etc. displayed or disseminated

by the Former Alumni Association bearing the University’s Marks and/or falsely

representing service of and association with the University, attached hereto as

composite “Exhibit Q.”

      69.    See also the Former Alumni Association’s current logo, which

contains the University’s colors, an image of the University’s marching band,

images of the University’s campus buildings and statues, and an image of the

University’s Founder and her home on campus:



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      70.     The Former Alumni Association, at the direction and authorization of

MCCRAY, continues to use “Dr. Mary McLeod Bethune,” the University’s

Founder, in its name, including having registered this new name with the Florida

Division of Corporations.

      71.     This unauthorized commercial use of the University’s Marks and

false association with the University is designed to willfully and/or intentionally

trade on the goodwill of the University’s Marks and cause confusion and deception

in the marketplace among customers intending to purchase goods and services

affiliated with or otherwise authorized by the University, and among donors who

intend to provide funds for the benefit of the University. See Cyclonaire Corp. v.

United States Systems, Inc., 209 U.S.P.Q. 310, 314 (D.Kan. 1980) (“A party with a

prior relationship with the first mark has a greater duty to adopt a clearly

distinguishable mark than does a mere stranger.”); see also Sicilia Di R. Biebow &

Co. v. Ronald Cox, 732 F.2d 417, at 432 (5th Cir.1984) (“We think that Cox's prior

role as a distributor of Sicilia's citrus juice provides additional evidence of his intent

to trade on the goodwill of Sicilia”).

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      72.      The   Former    Alumni    Association’s   intentional   unauthorized

commercial use of the University’s Marks has deceived and is likely to deceive

donors and the relevant consuming public into believing, mistakenly, that the

Former Alumni Association’s services originate from, are associated or affiliated

with, or are otherwise authorized by the University, which they are not.

      73.      Defendants’ actions are causing, and unless restrained, will continue

to cause, damage and immediate irreparable harm to the University that cannot be

adequately compensated with money damages.

                              COUNT I
            TRADEMARK INFRINGEMENT- 15 U.S.C. § 1114
               (Former Alumni Association and MCCRAY)

      74.      The University incorporates by reference the allegations in

paragraphs 1 through 73, as though fully set forth herein.

      75.      The Former Alumni Association’s use of “Bethune-Cookman,”

“Bethune-Cookman University,” “B-CU”, “B-CU Alumni Association”, and “Dr.

Mary McLeod Bethune National Alumni Association,” which are substantially

similar in their entireties as to appearance, sound, connotation and commercial

impression to the University’s Marks constitutes infringement. See i.e. composite

Exhibit Q, depicting examples of this infringement by the Former Alumni

Association.

      76.      The Former Alumni Association’s use of “Bethune-Cookman,”

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“Bethune-Cookman University,” “B-CU”, “B-CU Alumni Association,” and “Dr.

Mary McLeod Bethune National Alumni Association” is in connection with the

same kinds of goods and/or services as those produced, marketed and sold by the

University.

      77.     The Former Alumni Association’s similar use of the University’s

Marks, including the University’s seal, FLORIDA CLASSIC, the wildcat’s head,

and “BC”8 constitutes unlawful infringement. See i.e. composite Exhibit Q at Q-1,

Q-3, Q-4, Q-5, Q-6, Q-13, Q-15, Q-16, Q-17, Q-18, Q-19, and Q-20.

      78.     The purchasing public and donors are likely to be confused, and such

use of the University’s Marks is likely to cause mistake or to deceive the public as

to the source or origin of the respective goods and services, causing irreparable

harm to the University for which there is no adequate remedy at law, including:

              a.   loss of the ability to control the use of the University’s Marks

in commerce, including the quality of goods and services (including fundraising)

that the marks are being used in association with;

              b.   loss of opportunities or interference with the University’s

relationship with its Alumni, students, donors, vendors and other members of the



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   See USPTO application serial numbers: 90863047; 90863045; 90863053;
90863032; 90862998; 90863036. The University has included this mark in this
infringement claim in anticipation of the applications for registration of this mark
being approved.
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public with which it does business;

              c.    confusion among the consuming public (including fundraisers

and donors) as to the University’s affiliation with, approval of and/or sponsorship

of the Former Alumni Association and the Former Alumni Association’s goods and

services/ events; and

              d.    actual and/or imminently threatened loss to the University's

valuable goodwill and reputation with the consuming public.

      79.     The University has a clearly ascertainable right as to its trademarks,

tradename, and trade dress, which is in need of protection, and it is likely to succeed

on the merits of this action.

      80.     The Former Alumni Association’s activities and infringement, at

the direction and authorization of MCCRAY, have caused and will cause

irreparable harm to the University for which the University has no adequate

remedy at law. Accordingly, the University is entitled to injunctive relief

pursuant to 15 U.S.C. § 1116(a), including preliminary injunctive relief under

Fed. R. Civ. P. Rule 65.

      81.     The granting of an injunction under these circumstances is not

contrary to public interest.

      82.     The Former Alumni Association’s infringement, at the direction and

authorization of MCCRAY, has been committed with knowledge that such

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imitation is intended to be used to cause confusion, or to cause mistake, or to

deceive.

        83.    As a result of this infringement, the University has suffered and will

continue to suffer substantial financial harm, including, but not limited to loss of

fundraising and sponsors.

        84.    The University has engaged the undersigned attorneys and is

required to pay them a reasonable fee for their services. The University is

entitled to recover its attorneys’ fees and costs of suit pursuant to 15 U.S.C. §

1117.

        WHEREFORE, the University requests judgment against Defendants as

 follows:

        1.     The Court enter an order and judgment temporarily and permanently

 enjoining the Former Alumni Association and its agents, officers, representatives,

 employees, and attorneys from:

               (a)   using the University’s marks described in this count or any

         colorable imitations thereof, including those that are confusingly similar to or

         in any way similar to the University’s marks or that is likely to cause

         confusion, mistake, deception or public misunderstanding as to the origin of

         the Former Alumni Association’s goods and services, or cause the impression

         that the Former Alumni Association’s goods and services are associated with


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  the University;

        (b)   registering, trafficking in or using any state or federal trademark

  or service mark that incorporates the University’s marks or any colorable

  imitations thereof;

        (c)   displaying goods or services incorporating the University’s

  marks in connection with any advertisement or promotion including, without

  limitation, over the internet;

        (d)   displaying, offering for sale and selling goods or services

  incorporating the University’s marks;

        (e)   otherwise using any trademarks, trade dress, or tradenames

  that are confusingly similar to any of the University’s Marks, including,

  but not limited to “Bethune-Cookman,” “Bethune-Cookman University,”

  “B-CU,” “B-CU Alumni Association,” and any variation of the name of

  the University’s Founder, “Mary McLeod Bethune,” whether alone or in

  combination with other text, words, letters numbers, the University’s

  colors, images of the University’s campus and events, or images of its

  Founder;

        (f)   all fundraising and solicitation efforts in the name of or on

  behalf of the University in any manner;

  2.    The Court enter an order and judgment:


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             (a)    pursuant to 15 U.S.C. § 1118, requiring Defendants to

       deliver up for destruction all materials bearing the University’s Marks,

       trade dress, or tradenames, in its possession, custody or control;

             (b)    requiring Defendants to publicly display corrective

       advertising for informing consumers and donors of its unauthorized use

       of the University’s marks and lack of affiliation with, or sponsorship or

       endorsement by, the University;

             (c)    declaring this to be an exceptional case and awarding the

       University its full costs and reasonable attorneys’ fees pursuant to 15

       U.S.C. § 1117;

             (d)    granting the University any other remedy to which it may be

       entitled as provided in 15 U.S.C. §§ 1116 and 1117, including, but not

       limited to damages and Defendants’ profits; and

             (e)    for such other and further relief to which the University

       shows it is justly entitled at law or in equity.

                             COUNT II
            FALSE DESIGNATION OF ORIGIN-15 U.S.C. §
                               1125(a)
               (Former Alumni Association and MCCRAY)

     85.     The University incorporates by reference the allegations in

paragraphs 1 through 73, as though fully set forth herein.

     86.     At the direction and authorization of MCCRAY, the Former
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Alumni Association’s use of the University’s Marks in connection with its

goods and services represents a false designation of origin in violation of 15

U.S.C. § 1125(a). See composite Exhibit Q.

        87.    In violation of 15 U.S.C. § 1125(a), Defendants make false or

misleading descriptions and representations of fact indicating that the Former

Alumni Association is associated with the University, including, but not limited

to the Former Alumni Association’s characterization of its services as

“…dedicated to serving…Bethune-Cookman University” and describing its

mission as “to promote, support, and advance the mission, vision, and core

values of Bethune-Cookman University by fostering and enhancing the

relationship between the University and its alumni, members, students, friends,

and supporters,” 9 as well as declaring that it “provides financial support to the

University” and that through its website, one can “donate with NAA BCU.”

See composite Exhibit Q, at Q-1, Q-14.

        88.    In violation of 15 U.S.C. § 1125(a), the Former Alumni

Association, at the direction and authorization of MCCRAY, makes false or

misleading descriptions and representations of fact indicating that it is

associated with the University by, inter alia, using pictures of the University’s

buildings, statues, the home of its Founder, and its marching band on its website


9
    https://www.mmbnaa.org/about-us-1 (as of January 6, 2022).
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and in other publications. See composite Exhibit Q.

        89.   As a result of the Defendants’ violation of 15 U.S.C. § 1125(a),

the University has suffered damages, and is entitled to award of those damages

and costs under 15 U.S.C. § 1117.

        90.   The Former Alumni Association’s activities and infringement, at

the direction and authorization of MCCRAY, have caused and will cause

irreparable harm to the University for which the University has no adequate

remedy at law. Accordingly, the University is entitled to injunctive relief

pursuant to 15 U.S.C. § 1116(a), including preliminary injunctive relief under

Fed. R. Civ. P. Rule 65.

        91.   The University has a clearly ascertainable right as to its trademarks,

tradename, and trade dress, which is in need of protection, and it is likely to succeed

on the merits of this action.

        92.   The granting of an injunction under these circumstances is not

contrary to public interest.

        93.   The University has engaged the undersigned attorneys and is

required to pay them a reasonable fee for their services. The University is also

entitled to recover its attorneys’ fees and costs of suit pursuant to 15 U.S.C. §

1117.

         WHEREFORE, the University requests judgment against Defendants as


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follows:

     1.     The Court enter an order and judgment temporarily and permanently

enjoining the Former Alumni Association and its agents, officers, representatives,

employees, and attorneys from:

            (a)   using the University’s Marks or any colorable imitations thereof,

      including those that are confusingly similar to or in any way similar to the

      University’s Marks or that is likely to cause confusion, mistake, deception or

      public misunderstanding as to the origin of the Former Alumni Association’s

      goods and services or cause the impression that the Former Alumni

      Association’s goods and services are associated with the University;

            (b)   registering, trafficking in or using any state or federal trademark

      or service mark that incorporates the University’s Marks or any colorable

      imitations thereof;

            (c)   displaying goods or services incorporating the University’s

      Marks in connection with any advertisement or promotion including, without

      limitation, over the Internet;

            (d)   displaying, offering for sale and selling goods or services

      incorporating the University’s Marks;

            (e)   otherwise using any trademarks, trade dress, or tradenames

      that are confusingly similar to any of the University’s Marks, including,


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  but not limited to “Bethune-Cookman,” “Bethune-Cookman University,”

  “B-CU,” “B-CU Alumni Association,” and any variation of the name of

  the University’s Founder, “Mary McLeod Bethune,” whether alone or in

  combination with other text, words, letters numbers, the University’s

  colors, images of the University’s campus and events, or images of its

  Founder;

       (f)   all fundraising and solicitation efforts in the name of or on

  behalf of the University in any manner;

       (g)   making any statement or taking any action that suggests the

  Former Alumni Association or its activities are affiliated with, approved

  by, sponsored by, or in any way authorized by the University;

       (h)   planning or organizing Alumni fundraising events, including,

  but not limited to during the University’s Homecoming Weekend;

       (i)   having representatives solicit funds or membership at

  University events; and

       (j)   engaging in activities, including fundraising or membership

  solicitation, for the benefit of the Former Alumni Association at all

  University sponsored events, including, but not limited to football games,

  Alumni events, awards ceremonies, and commemoration events, etc.

  2.    The Court enter an order and judgment:


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             (a)    pursuant to 15 U.S.C. § 1118, requiring Defendants to

       deliver up for destruction all materials bearing the University’s Marks,

       trade dress, or tradenames, in its possession, custody or control;

             (b)    requiring the Former Alumni Association to publicly display

       corrective advertising for informing consumers and donors of its

       unauthorized use of the University’s Marks and lack of affiliation with,

       or sponsorship or endorsement by, the University;

             (c)    declaring this to be an exceptional case and awarding the

       University its full costs and reasonable attorneys’ fees pursuant to 15

       U.S.C. § 1117;

             (d)    granting the University any other remedy to which it may be

       entitled as provided in 15 U.S.C. §§ 1116 and 1117 including, but not

       limited to damages and Defendants’ profits; and

             (e)    for such other and further relief to which the University

       shows it is justly entitled at law or in equity.

                              COUNT III
             DILUTION BY BLURRING-15 U.S.C. § 1125(c)
                (Former Alumni Association and MCCRAY)

     94.     The University incorporates by reference the allegations in

paragraphs 1 through 73, as though fully set forth herein.

     95.     In the nearly 100 years that the University has been using the


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“BETHUNE-COOKMAN” trademark and service mark, consumer (and donor)

recognition of the mark has grown substantially. The University’s “BETHUNE-

COOKMAN” trademark and service mark are famous as they are widely

recognized by the general consuming public of the United States as a designation

of source of the University’s goods and services.

      96.    At the direction and authorization of MCCRAY, the Former Alumni

Association’s willful use of the marks “Bethune-Cookman,” “Bethune-Cookman

University,” “B-CU,” “B-CU Alumni Association,” “Dr. Mary McLeod Bethune

National Alumni Association,” and/or “National Alumni Association of Bethune-

Cookman University” causes dilution by blurring of the University’s “BETHUNE-

COOKMAN” trademark and service mark because “Dr. Mary McLeod Bethune”

is the University’s Founder, whose name is inextricably associated with the

University and its famous mark, “BETHUNE-COOKMAN”.

      97.    As a result of the Defendants’ violation of 15 U.S.C. § 1125(a),

the University has suffered damages, and is entitled to award of those damages

and costs under 15 U.S. Code § 1117.

      98.    At the direction and authorization of MCCRAY, the Former

Alumni Association’s use of similar marks causing dilution and blurring of the

University’s “BETHUNE-COOKMAN” trademark and service mark have

caused and will cause irreparable harm to the University for which the


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University has no adequate remedy at law. Accordingly, the University is

entitled to injunctive relief pursuant to 15 U.S.C. § 1116(a), including

preliminary injunctive relief under Fed. R. Civ. P. Rule 65.

        99.    The University has a clearly ascertainable right as to its trademarks,

tradename, and trade dress, which is in need of protection, and it is likely to succeed

on the merits of this action.

        100.   The granting of an injunction under these circumstances is not

contrary to public interest.

        101.   The University has engaged the undersigned attorneys and is

required to pay them a reasonable fee for their services. The University is also

entitled to recover its attorneys’ fees and costs of suit pursuant to 15 U.S.C. §

1117.

         WHEREFORE, the University requests judgment against Defendants as

 follows:

        1.     The Court enter an order and judgment temporarily and permanently

 enjoining the Former Alumni Association and its agents, officers, representatives,

 employees, and attorneys from:

               (a)   diluting the distinctive quality of the University’s Mark(s);

               (b)   otherwise using any trademarks, trade dress, or tradenames

         that are confusingly similar to any of the University’s Marks, including,


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       but not limited to “Bethune-Cookman,” “Bethune-Cookman University,”

       “B-CU,” “B-CU Alumni Association,” and any variation of the name of

       the University’s Founder, “Mary McLeod Bethune,” whether alone or in

       combination with other text, words, letters numbers, the University’s

       colors, images of the University’s campus and events, or images of its

       Founder;

       2.    The Court enter an order and judgment:

             (a)    declaring this to be an exceptional case and awarding the

       University its full costs and reasonable attorneys’ fees pursuant to 15

       U.S.C. § 1117;

             (b)    granting the University any other remedy to which it may be

       entitled as provided in 15 U.S.C. §§ 1116 and 1117, including, but not

       limited to damages and Defendants’ profits; and

             (c)    for such other and further relief to which the University

       shows it is justly entitled at law or in equity.

                             COUNT IV
               FLA. STAT. § 495.131- INFRINGEMENT
                     (Former Alumni Association)

     102.    The University incorporates by reference the allegations in

paragraphs 1 through 73, as though fully set forth herein.

     103.    The University owns the mark “BETHUNE-COOKMAN”, registered

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pursuant to Chapter 495 of the Florida Statutes, Florida Registration Number

T06000001446, for the following goods and services:               educational and

entertainment services, namely, providing courses of instruction at the university

level; arranging and conducting athletic sporting events; and live performances by

a musical band, a choral group, or an orchestral performing group; printed

instructional, education and teaching materials in the fields of art, humanities,

business, education, nursing science, engineering, mathematics, and social

sciences, stationery, folders, writing instruments, binders, calendars, posters, and

letter openers; shirts, pants, headwear, shorts, sleepwear, baby bibs not of paper,

undergarments, and ties.

      104.   The mark was first used in Florida and first used anywhere at least as

early as December 31, 1926, and state registration was issued on November 7,

2007, renewed on December 2, 2016, and renewed again on November 5, 2021.

See Exhibit D.

      105.   The University owns the mark consisting of the University’s seal,

under Florida Registration Number T11000000242. The mark is used for

educational services, namely providing courses of instruction at the college level.

      106.   The University’s seal was first used in Florida and first used anywhere

at least as early as August 31, 1923. State registration of the mark was issued on

March 14, 2011, renewed on December 16, 2015, and renewed again on March 8,


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2021. See Exhibit H.

      107.   The University owns 10 the service mark “FLORIDA CLASSIC”,

under Florida Registration Number T06000001498 for entertainment services,

namely, football games, marching band events, dance events, and live

performances by a musical band, a choral group or an orchestral performing group,

and for serving food and beverages at luncheons. The mark was first used in

commerce at least as early as 1978.

      108.   State registration of the mark was issued on November 20, 2006,

renewed on March 1, 2017, and renewed again on November 8, 2021. See Exhibit

F.

      109.   The University owns the mark “Florida Classic and design of a

Bethune-Cookman football helmet and a FAMU football helmet facing each other

against an inverted triangle, the words ‘FLORIDA CLASSIC’ are written above

helmets” under Florida Registration Number T05000001399 for services in

association with the Florida Classic Annual Event, namely, education and

entertainment; miscellaneous printing and publication of books, signs, brochures,

labels, decals, newspaper advertisements and other miscellaneous items:




 This mark is jointly owned by the University and the Florida Agricultural and
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Mechanical University Board of Trustees (“FAMU”).
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      110.   The mark was first used in Florida and first used anywhere at least as

early as November 24, 1997. State registration of the mark was issued on October

27, 2005, renewed on November 13, 2015, and renewed again on October 30, 2020.

A true and correct copy of Florida Registration Number T05000001399 is attached

hereto as “Exhibit R.”

      111.   The Former Alumni Association has used and continues to use the

marks described in this count, or confusingly similar variations thereof (i.e. “B-

CU”), for the sale, distribution, and/or advertising of goods and/or services, which

is likely to cause confusion, mistake, and/or to deceive, causing irreparable harm

to the University for which there is no adequate remedy at law, including:

             a.    loss of the ability to control the use of the marks in commerce,

including the quality of goods and services (including fundraising) that the marks

are being used in association with;

             b.    loss of opportunities or interference with the University’s

relationship with its Alumni, students, donors, vendors and other members of the


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public with which it does business;

              c.    confusion among the consuming public (including fundraisers

and donors) as to the University’s affiliation with, approval of and/or sponsorship

of the Former Alumni Association and the Former Alumni Association’s goods and

services/ events;

              d.    actual and/or imminently threatened loss to the University's

valuable goodwill and reputation with the consuming public.

      112.    The Former Alumni Association’s infringement, has been

committed with knowledge that such marks are intended to be used to cause

confusion or mistake or to deceive.

      113.    The Former Alumni Association’s activities and infringement

have caused and will cause irreparable harm to the University for which the

University has no adequate remedy at law.

      114.    Accordingly, the University is entitled to injunctive relief pursuant

to Fla. Stat. § 495.141.

      115.    The University has a clearly ascertainable right as to its trademarks,

tradename, and trade dress, which is in need of protection, and it is likely to succeed

on the merits of this action.

      116.    The granting of an injunction under these circumstances is not

contrary to public interest.

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      117.   The University has engaged the undersigned attorneys and is required

to pay them a reasonable fee for their services.

       WHEREFORE, the University requests judgment against Defendants as

 follows:

      1.     The Court enter an order and judgment temporarily and permanently

 enjoining the Former Alumni Association and its agents, officers, representatives,

 employees, and attorneys from:

             (a)   using the marks described in this count or any colorable

       imitations thereof, including those that are confusingly similar to or in any

       way similar to the marks or that is likely to cause confusion, mistake,

       deception or public misunderstanding as to the origin of the Former Alumni

       Association’s goods and services or cause the impression that the Former

       Alumni Association’s goods and services are associated with the University;

             (b)   registering, trafficking in or using any state registered trademark

       or service mark that incorporates the marks described in this count or any

       colorable imitations thereof;

             (c)   displaying goods or services incorporating the marks in

       connection with any advertisement or promotion including, without

       limitation, over the Internet;

             (d)   displaying, offering for sale and selling goods or services


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  incorporating the marks;

        (e)   otherwise using any trademarks, trade dress, or tradenames

  that are confusingly similar to any of the University’s Marks, including,

  but not limited to “Bethune-Cookman,” “Bethune-Cookman University,”

  “B-CU,” “B-CU Alumni Association,” and any variation of the name of

  the University’s Founder, “Mary McLeod Bethune,” whether alone or in

  combination with other text, words, letters numbers, the University’s

  colors, images of the University’s campus and events, or images of its

  Founder;

        (f)   all fundraising and solicitation efforts in the name of or on

  behalf of the University in any manner;

  2.    The Court enter an order and judgment:

        (a)   requiring the Former Alumni Association to publicly display

  corrective advertising for informing consumers and donors of its

  unauthorized use of the marks and lack of affiliation with, or sponsorship

  or endorsement by, the University;

        (b)   requiring Defendant to pay to the University all profits,

  including funds raised, which were derived from and/or all damages

  suffered by reason of the wrongful use, display, and/or sale;

        (c)   awarding the University its full costs and reasonable


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        attorneys’ fees pursuant to Fla. Stat. § 495.141;

               (d)   granting the University any other remedy to which it may be

        entitled as provided in Chapter 495 of the Florida Statutes;

               (e)   and for such other and further relief to which the University

        shows it is justly entitled at law or in equity.

                               COUNT V
                       FLA. STAT. § 495.151- DILUTION
                         (Former Alumni Association)

        118.   The University incorporates by reference the allegations in

paragraphs 1 through 73 and 103 through 110, as though fully set forth herein.

        119.   The University owns the mark “BETHUNE-COOKMAN”, registered

pursuant to Chapter 495 of the Florida Statutes, Florida Registration Number

T06000001446.

        120.   The University owns the mark consisting of the University’s seal

under Florida Registration Number T11000000242.

        121.   The University owns 11 the service mark “FLORIDA CLASSIC”,

under Florida Registration Number T06000001498, as well as the following design

mark:




 This mark is jointly owned by the University and the Florida Agricultural and
11

Mechanical University Board of Trustees (“FAMU”).
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      122.    These marks are famous in the state of Florida, and beyond.

      123.    The Former Alumni Association’s use of the same or confusingly

similar marks, causing dilution and blurring of the trademark and service marks

described in this count have caused and will cause irreparable harm to the

University for which the University has no adequate remedy at law.

Accordingly, the University is entitled to injunctive relief pursuant to Fla. Stat.

§ 495.151.

      124.    In light of the University’s demands that the Former Alumni

Association cease use of the same or confusingly similar marks, the Former

Alumni Association’s continued use is willfully intended to trade on the

University’s reputation and/or to cause dilution of the marks described in this

count.

      125.    The University has a clearly ascertainable right as to its trademarks,

tradename, and trade dress, which is in need of protection, and it is likely to succeed

on the merits of this action.


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      126.   The granting of an injunction under these circumstances is not

contrary to public interest.

      127.   The University has engaged the undersigned attorneys and is

required to pay them a reasonable fee for their services. The University is also

entitled to recover its attorneys’ fees and costs of suit pursuant to Fla. Stat. §

495.141.

       WHEREFORE, the University requests judgment against the Former

 Alumni Association as follows:

      1.     The Court enter an order and judgment temporarily and permanently

enjoining the Former Alumni Association and its agents, officers, representatives,

employees, and attorneys from:

             (a)   diluting the distinctive quality of the University’s marks

       described in this count;

             (b)   using the marks described in this count or any colorable

       imitations thereof, including those that are confusingly similar to or in any

       way similar to the marks or that is likely to cause confusion, mistake,

       deception or public misunderstanding as to the origin of the Former Alumni

       Association’s goods and services or cause the impression that the Former

       Alumni Association’s goods and services are associated with the University;

             (c)   otherwise using any trademarks, trade dress, or tradenames


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      that are confusingly similar to any of the University’s Marks, including,

      but not limited to “Bethune-Cookman,” “Bethune-Cookman University,”

      “B-CU,” “B-CU Alumni Association,” and any variation of the name of

      the University’s Founder, “Mary McLeod Bethune,” whether alone or in

      combination with other text, words, letters numbers, the University’s

      colors, images of the University’s campus and events, or images of its

      Founder;

      2.    The Court enter an order and judgment:

            (a)    awarding the University its full costs and reasonable

      attorneys’ fees pursuant to Fla. Stat. § 495.141;

            (b)    awarding the University damages and profits pursuant to

      Fla. Stat. § 495.141; and

            (c)    for such other and further relief to which the University

      shows it is justly entitled at law or in equity.

                        COUNT VI
    FLORIDA COMMON LAW TRADEMARK INFRINGEMENT
            (Former Alumni Association and MCCRAY)

     128.   The University incorporates by reference the allegations in

paragraphs 1 through 73 and 103 through 110, as though fully set forth herein.

     129.   In addition to use of the University’s Marks, the Former Alumni

Association, at the authorization and direction of MCCRAY, is using marks or


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trade names “Dr. Mary McLeod Bethune National Alumni Association,” “National

Alumni Association of Bethune-Cookman University,” and/or some variation

thereof, which are confusingly similar as to appearance, sound, connotation and

commercial impression to the University’s marks described in this count. See i.e

composite Exhibit Q.

      130.    The Former Alumni Association uses these marks, tradenames,

and/or trade dress in connection with the same and/or related kinds of goods

and services as those produced, marketed, and/or sold by the University.

      131.    Accordingly, such use is likely to cause mistake or to deceive the

public as to the source or origin of the respective goods and services under the

Former Alumni Association’s marks, causing irreparable harm to the University

for which there is no adequate remedy at law, and constituting infringement of the

University's common law trademark rights.

      132.    The University has a clearly ascertainable right as to its trademarks,

tradename, and trade dress, which is in need of protection, and it is likely to succeed

on the merits of this action.

      133.    The granting of an injunction under these circumstances is not

contrary to public interest.

       WHEREFORE, the University requests judgment against Defendants as

 follows:


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      1.   The Court enter an order and judgment temporarily and permanently

enjoining the Former Alumni Association and its agents, officers, representatives,

employees, and attorneys from:

            (a)   using the marks described in this count or any colorable

      imitations thereof, including those that are confusingly similar to or in any

      way similar to the marks or that is likely to cause confusion, mistake,

      deception or public misunderstanding as to the origin of the Former Alumni

      Association’s goods and services or cause the impression that the Former

      Alumni Association’s goods and services are associated with the University;

            (b)   otherwise using any trademarks, trade dress, or tradenames

      that are confusingly similar to any of the University’s Marks, including,

      but not limited to “Bethune-Cookman,” “Bethune-Cookman University,”

      “B-CU,” “B-CU Alumni Association,” and any variation of the name of

      the University’s Founder, “Mary McLeod Bethune,” whether alone or in

      combination with other text, words, letters numbers, the University’s

      colors, images of the University’s campus and events, or images of its

      Founder;

     2.     The Court enter an order and judgment:

           (a)    requiring the Former Alumni Association to publicly display

      corrective advertising for informing consumers and donors of its


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       unauthorized use of the marks and lack of affiliation with, or sponsorship

       or endorsement by, the University;

             (b)    requiring Defendants to pay to the University all profits,

       including funds raised, which were derived from and/or all damages

       suffered by reason of the wrongful use, display, and/or sale;

             (c)    and for such other and further relief to which the University

       shows it is justly entitled at law or in equity.

                        COUNT VII
  VIOLATION OF FLORIDA’S UNFAIR AND DECEPTIVE TRADE
                     PRACTICES ACT
                 (Former Alumni Association)

      134.   The University incorporates by reference the allegations in

paragraphs 1 through 73 and 103 through 110, as though fully set forth herein.

      135.   This is a cause of action for damages suffered by the University as

a result of the Former Alumni Association’s violations of Florida’s Deceptive

and Unfair Trade Practices Act (“FDUTPA”), Chapter 501 of the Florida

Statutes.

      136.   The Former Alumni Association has engaged in unlawful trade

practices through unauthorized use of the University’s trademarks.

      137.   The Former Alumni Association’s use of the University’s marks as

evidenced by composite Exhibit Q, inter alia: falsely represents the Former Alumni

Association’s goods and/or services as those of the University; causes confusion or
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misunderstanding as to the source, sponsorship, approval, or certification of the

Former Alumni Association’s services; causes confusion or misunderstanding as to

the affiliation, connection, or association with, or certification by the University;

and represents that the Former Alumni Association’s services have sponsorship and

approval by the University that they do not have, in violation of FDUTPA.

      138.    The University has engaged the undersigned attorneys and is required

to pay them a reasonable fee for their services. Pursuant to §§ 501.2105 and

501.211, Florida Statutes, the University is entitled to recover their attorneys’ fees

and costs from Defendant.

      WHEREFORE, the University demands judgment in its favor and against

the Former Alumni Association for damages, attorneys’ fees, interest, and costs

and such other and further relief as this Court deems just and proper.

                                  COUNT VIII
                                ACCOUNTING
                           (Former Alumni Association)

      139.    The University incorporates by reference the allegations in

paragraphs 1 through 73 and 103 through 110, as though fully set forth herein.

      140.    Prior to the University’s disassociation from the Former Alumni

Association, the implied license between the University and the Former Alumni

Association allowed the Former Alumni Association to utilize the University’s

trademarks in order to raise money on behalf of and for the benefit of the


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University.

      141.    Thus, during the existence of this implied license, a fiduciary

relationship existed between the University and the Former Alumni Association as

the Former Alumni Association acted for the benefit of the University and the

Former Alumni Association held funds in constructive trust for the benefit of the

University.

      142.    While using the University’s trademarks, the Former Alumni

Association has received funds on behalf of the University from donors who

provided funds for the benefit of the University.

      WHEREFORE, the University requests that this Court order an accounting

to determine all funds that the Former Alumni Association has received for the

benefit of the University, whether those funds have been delivered to the University,

and that any such funds remaining with the Former Alumni Association be

immediately delivered to the University.

                                      JURY
                                     DEMAND

      Plaintiff demands trial by jury on all issues so triable.


Respectfully submitted this 7th day of January, 2022.




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                                 VERIFICATION


STATE OF FLORIDA
COUNTY OF VOLUSIA



     Dr. Hiram C. Powell, Ph.D., being duly sworn upon oath, deposes and says:
(a) I am the INTERIM PRESIDENT for BETHUNE-COOKMAN
UNIVERSITY, INC. (the "University"), Plaintiff in the above-entitled action, and
on oath state that I am authorized to execute the above and foregoing verified
complaint on behalf of the University; (b) that not all of the facts stated therein are
within my personal knowledge; (c) the facts stated therein have been assembled by
authorized employees and counsel of the University; and (d) that subject to the
limitations set forth therein, I am informed the allegations are true and correct.




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                                       Sign:-1--//_r
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                                        Date:    01   Io (p }w.2..2-
